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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA


v.                                              CRIMINAL ACTION NO.
                                                3:04CR00138 (JCH)
TYRONE STOKES,
     Defendant.
                                                APRIL 21, 2008


                             ORDER TO SHOW CAUSE

      The Defendant is hereby ORDERED to SHOW CAUSE, by June 20, 2008, why

the defendant ought to be granted relief pursuant to 18 U.S.C. § 3582(c)(2) and

994(u), as well as Amendment 706 to the U.S.S. Guidelines.

      The Government is to respond no later than July 21, 2008

      The court has reviewed a supplemental Presentence Report prepared by the

Probation Office that suggests the defendant is ineligible because the Amendment

does not lower the applicable guideline range, U.S.S.G. 1B1.10, comment. (n.1.(A)).

Defendant was sentenced to a mandatory minimum sentence.



SO ORDERED.

      Dated at Bridgeport, Connecticut this 21st day of April, 2008.




                                          /s/ Janet C. Hall
                                        Janet C. Hall
                                        United States District Court
